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                                                                                                                                Zoning and Land Use

                                                                                                                                Tax Lots

                                                                                                                                Zoning Districts

                                                                                                                                 Commercial Districts

                                                                                                                                 Manufacturing Districts

                                                                                                                                 Residence Districts

                                                                                                                                 Parks

                                                                                                                                 Battery Park City

                                                                                                                                Commercial Overlays

                                                                                                                                 C1-1 through C1-5

                                                                                                                                 C2-1 through C2-5



                                                                                                                                Basemaps

                                                                                                                                Subways

                                                                                                                                Building Footprints




  50 ft




200 EAST 83RD STREET, 10028                                                                Add Another Tax Lot for Comparison
Manhattan (Borough 1) | Block 1528 | Lot 7501
                                                                                     TAX LOT | BBL 1015287501




Zoning District:         C1-9



INTERSECTING MAP LAYERS          :          Owner                    Show Owner
None found                                  Land Use                 Mixed Residential & Commercial Buildings
                                            Lot Area                 10,388 sq ft
ZONING DETAILS:                             Lot Frontage             102.17 ft
  Digital Tax Map                           Lot Depth                101.67 ft
  Zoning Map: 9a (PDF)                      Year Built               2021
  Historical Zoning Maps (PDF)              Year Altered             2021
                                            Building Class           Condominiums - Mixed Residential & Commercial
                                                                     Building (Mixed Residential & Commercial) ( RM )
                                            Number of Buildings      1
                                            Number of Floors         35
                                            Gross Floor Area         191,958 sq ft
                                            Total # of Units         87
                                            Residential Units        86
                                            Condominium Number       3122
                                            Building Info                 BISWEB
                                            Property Records              View ACRIS
                                            Housing Info               View HPD's Building, Registration & Violation
                                                                     Records
                                            Community District            Manhattan Community District 8
                                            City Council District         Council District 5
                                            School District          02
                                            Police Precinct          19
                                            Fire Company            E022
                                               Powered by ZoLa | zola.planning.nyc.gov | NYC Department of City Planning
                                            Sanitation Borough      1
                                            Sanitation District      08




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